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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

                                                     )
 DONAL M. MCDONAGH, and                              )
 MICHELE R. MCDONAGH                                 )
                                                     )
        Plaintiffs,                                  )
                                                     )
 v.                                                  )        No. 2:20-cv-02539-JMP-cgc
                                                     )
 SCIG SERIES III TRUST,                              )
 SN SERVICING CORPORATION, and                       )
 U.S. BANK TRUST NATIONAL                            )
 ASSOCIATION,                                        )
                                                     )
        Defendants.                                  )
                                                     )

                          PLAINTIFFS’ BRIEF IN OPPOSITION
                        TO DEFENDANTS’ MOTION TO DISMISS
                      PLAINTIFFS’ SECOND AMENDED COMPLAINT


 TO THE HONORABLE JUDGE OF SAID COURT:

        COME NOW, Plaintiffs Donal M. McDonagh and Michele R. McDonagh (hereinafter

 collectively referred to as “Plaintiffs” or the “McDonaghs”) and hereby submit their Brief in

 Opposition to SN Servicing Corporation (“SN Servicing”) and U.S. Bank Trust National

 Association’s (“U.S. Bank”) (hereinafter collectively referred to as the “Defendants”) Motion to

 Dismiss Plaintiffs’ Second Amended Complaint (“Motion”), and for cause of action would

 respectfully show the Court as follows:

                                     I.      INTRODUCTION

        1.      The McDonaghs’ claims stem from Defendants’ actions and omissions as lender

 and servicer of the McDonaghs’ loan for their home located at 2416 Sanders Ridge,

 Germantown, Tennessee 38138 (the “Property”). The McDonaghs financed the purchase of the

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 Property with a loan obtained by Trust One Bank (“Trust One”) in the amount of $700,000 on

 August 29, 2007, as represented by a promissory note (“Note”) and secured by a Deed of Trust

 (“DOT”) (collectively referred to as the “Mortgage”).

         2.     On July 20, 2012, the McDonaghs jointly filed a Chapter 13 Bankruptcy filing in

 the United States Bankruptcy Court in the Western District of Tennessee (“Bankruptcy”) which

 listed the Mortgage. The Bankruptcy was successfully performed by the McDonaghs and

 discharged on July 13, 2018. During that time, the DOT was assigned, and the Note was

 transferred, three (3) separate times, ultimately being assigned to U.S. Bank as trustee for the

 SCIG Trust on or about September 21, 2018. Upon information and belief, SN Servicing

 immediately began servicing the Loan on behalf of U.S. Bank.


         3.     On June 24, 2020, the McDonaghs filed their First Verified Complaint

 (“Complaint”), together with their Fiat issuing a Temporary Restraining Order, against

 Defendants in Part II of the Chancery Court of Tennessee for the Thirtieth Judicial District at

 Memphis—asserting breach of contract, breach of the covenant of good faith and fair dealing,

 violations of the Fair Debt Collections Act (“FDCA”), violations of the Tennessee Consumer

 Protection Act (“TCPA”), violations of 12 U.S.C. §2601, and to enjoin foreclosure sale. The

 McDonaghs also sought that a jury be empaneled to act as finder of fact, the court issue a Notice

 of Lien Lis Pendens, and that they be awarded such other and further relief for which they are

 entitled.


         4.     Defendants removed this case to this Court on July 24, 2020 and filed their First

 Motion to Dismiss on August 14, 2020.




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            5.    The McDonaghs filed their Amended Complaint on October 20, 2020 and their Second

 Amended Complaint (“Amended Complaint”) on October 21, 2020. Defendants filed the Motion on

 November 3, 2020.


            5.    The Court should deny Defendants’ Motion because the McDonaghs alleged facts

 “sufficient to state a claim to relief that is plausible on its face.” Majestic Bldg. Maint., Inc. v. Huntington

 Bancshares Inc., 864 F.3d 455, 458 (6th Cir. 2017) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

 (2007)).


                                        II. STANDARD OF REVIEW


            6.    Motion to dismiss under Fed. R. Civ. P. 12(b)(6) (“Rule 12(b)(6)”) are disfavored and

 rarely granted. Harris v. Am., 198 F.3d 245 (6th Cir. 1999) (unpublished) (citing Conley v. Gibson, 355

 U.S. 41, 45-46 (1957))(emphasis added); see also S. Christian Leadership Conference v. Supreme Court,

 252 F.3d 781, 786 (5th Cir. 2001); Lone Star Indus., Inc. v. Horman Family Trust, 960 F.2d 917, 920

 (10th Cir. 1992); Hall v. City of Santa Barbara, 833 F.2d 1270, 1274 (9th Cir. 1986).


            7.    A motion to dismiss under Rule 12(b)(6) does not present the issue of whether a plaintiff

 will ultimately prevail but whether the plaintiff is entitled to offer evidence in support of the claims.

 Scheuer v. Rhodes, 416 U.S. 232, 236 (1974). “Indeed it may appear on the face of the pleadings that a

 recovery is very remote and unlikely, but that is not the test.” Id. Rather, “a complaint should not be

 dismissed for failure to state a claim unless it appears beyond doubt that the plaintiff can prove no set of

 facts in support of his claim which would entitle him to relief.” Gibson, 355 U.S. at 45-46 (emphasis

 added).


            8.    To survive a motion to dismiss, Plaintiffs must allege enough facts “to state a claim to

 relief that that is plausible on its face.” Twombly, 550 U.S. 544, 570 (emphasis added).


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         9.       “A claim has facial plausibility when the plaintiff pleads factual content that allows the

 court to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft

 v. Iqbal, 556 U.S. 662, 678 (2009)(emphasis added).


         10.      Furthermore, the pleading standard announced by Fed. R. Civ. P. 8 does not require

 “detailed factual allegations”; rather, it only demands that the pleading be more than “labels and

 conclusions.” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555)(emphasis added).


         11.      “In reviewing the allegations, this Court construes the complaint in a light most favorable

 to the plaintiff, accepting all of the factual allegations as true and determines whether the plaintiff can

 prove no set of facts in support of his claims that would entitle him to relief.” Arrow v. Fed. Reserve Bank

 of St. Louis, 358 F.3d 392, 393 (6th Cir. 2004).


         12.      In other words, a complaint need not set forth all the facts upon which a claim is based;

 rather, a short and plain statement of the claim is sufficient if it gives the defendant fair notice of what

 the claim is and the grounds upon which it rests. Twombly, 550 U.S. at 545 (emphasis added).


                                      III. ARGUMENT AND AUTHORITIES

         13.      Defendants insist that the McDonaghs’ claims are not based on any factual allegations,

 but a closer look at the Complaint shows the McDonaghs pleaded enough facts to establish claims that are

 plausible in their face. See infra ARGUMENT A-E.

         A.       THE COURT SHOULD DENY DEFENDANTS’ MOTION BECAUSE THE
                  MCDONAGHS’ BREACH OF CONTRACT CLAIM AND BREACH OF
                  COVENANT OF GOOD FAITH AND FAIR DEALING CLAIM ARE
                  PLAUSIBLE ON THEIR FACE, AND THUS WORTHY OF FULL
                  ADJUDICATION.

         14.      The essential elements of a breach of contract claim under Tennessee law include

 (1) the existence of a contract, (2) breach of the contract, and (3) damages which flow from the breach.

 Life Care Ctrs. of Am. v. Charles Town Assocs. Ltd. P’ship, 79 F.3d 496, 514 (6th Cir. 1996).

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         15.     The Amended Complaint was clear as to the facts that make up the breach of contract

 claim: the McDonaghs paid the agreed to mortgage payments timely and in full during the pendency of

 the Bankruptcy from July 2012 to July 2018. During the Bankruptcy, in April 2018, SN Servicing on

 behalf of U.S. Bank began sending debt collection notices to Plaintiffs. However, the Mortgage was not

 assigned or transferred to U.S. Bank, specifically the DOT was not assigned and the Note was not

 transferred, until at least September 21, 2018, although it was represented to the Bankruptcy Court and

 the McDonaghs to have occurred prior to the discharge of the Bankruptcy. Immediately following the

 discharge of the bankruptcy, in July 2018, Defendants began to demand a monthly payment that exceeded

 the amount agreed to in the contract, or any modification thereof, without any accounting or reasoning

 whatsoever in violation of the Mortgage; refused to accept the McDonaghs monthly payments without

 any cause or explanation in violation of the Mortgage; and failed to break down additional fees charged to

 the McDonaghs, including the increased monthly payments, while admitting that they did not have the

 information from a prior servicer of the Loan necessary to even break down, much less assess, the fees

 owed. The Defendants, through their breaches and subsequent efforts toward a non-judicial foreclosure

 based on their breaches, forced the McDonaghs to incur expenses to dispute the invalid charges prior to

 litigation and file suit to prevent being forcibly removed from their home through non-judicial

 foreclosure.

         16.     Defendants’ first theory that the McDonaghs fail to state a claim for breach of contract is

 that one fact alleged by the McDonaghs, that Defendants misrepresented the assignment and acquisition

 date of the DOT, is baseless because, according to the Defendants, the McDonaghs never allege that U.S.

 Bank did not hold the Note when SN started communicating with them in April 2018. Defendants

 argument is simply untrue: the McDonaghs make that very assertion, that U.S. Bank did not hold the Note

 in April 2018, no less than three times throughout the Amended Complaint. In paragraph 7 of the

 Amended Complaint, the McDonaghs, in an effort towards efficiency, define “DOT” as the whole of the

 Mortgage: the promissory note, security agreement, and the deed of trust. In paragraphs 11 of the


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 Amended Complaint, the McDonaghs assert that the DOT was assigned on or around September 21, 2018

 and that Defendants have yet to provide Plaintiffs with a copy of the alleged assignment, conveyance or

 sale of the entirety of the DOT, “entirety” referring to the three separately referenced interests to the

 Property: the promissory note, security agreement, and deed of trust. In paragraph 22 of the Amended

 Complaint, the McDonaghs, when expressly detailing the misrepresentation of the Defendants in April

 2018, allege that Defendants falsely told the McDonaghs that they were the “lawful holder” of the DOT.

 The McDonaghs were not referring to merely the assignment of the deed of trust, but the physical holder

 of the collective DOT: the promissory note, security agreement, and deed of trust. Finally, and starkly, in

 Count III paragraph 41 of the Amended Complaint, the McDonaghs allege that, contrary to the assertion

 by the Defendants that they were “assigned the DOT, including the transfer of the promissory note, in

 April 2018” the “transfer and assignment to U.S. Bank and SCIG was not made until September 2020.”

 Thus, as the Defendants clearly overlooked the numerous allegations concerning the promissory note,

 their argument is without merit. Defendants mere assertion that the deed of trust is not specifically

 referenced does not change that the facts alleged by the McDonaghs, namely the Defendants’ acts to

 collect unverified and incorrect sums from Plaintiff under the authority of the Mortgage and unlawful

 foreclosure based on attempting to collect incorrect and unverified amounts, give rise to a breach of

 contract due to the Defendants failure to collect sums rightfully included in the terms of the agreement.

         17.      Defendants’ second theory, that foreclosure proceedings were properly initiated because

 the McDonaghs fell behind on their mortgage payment in mid-2017, is absolutely untrue. In paragraphs 9

 and 10 of the Amended Complaint, the McDonaghs correctly assert that they filed for Chapter 13

 Bankruptcy on July 20, 2012, and after performing successfully, the Bankruptcy was discharged on July

 13, 2018. The Bankruptcy plan and order of discharge are included by the McDonaghs in the Amended

 Complaint as Exhibit II, demonstrating the validity of the assertion. As stated in paragraph 12 of the

 Amended Complaint, the McDonaghs made all post-petition mortgage payments, from July 20, 2012 to

 July 13, 2018, directly to the alleged Mortgage holders during the Bankruptcy and never once did an


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 alleged holder or assignee of the Mortgage inform the McDonaghs or the United States Bankruptcy Court

 of a default. The claim of the Defendants that Plaintiffs admitted they defaulted on their payments in mid-

 2017 is completely false, and the Plaintiffs make assertions and provide evidence to the contrary in the

 Amended Complaint, at the very least making this a question of material fact to be decided by the Court.

         18.      Finally, Defendants argue that the McDonaghs failed to present facts that show damages

 due to Defendants’ breach of contract because Defendants allege that the final statement under Count 1 of

 the Amended Complaint is conclusory. In context, the statement is not conclusory and is supported by all

 the facts alleged preceding it in the Amended Complaint. Black’s Law Dictionary defines “[a]ctual

 damages” as “[c]ompensation for actual injuries or loss.” In paragraph 29, the beginning of Count 1 in the

 Amended Complaint, the McDonaghs incorporate and adopt the preceding paragraphs of the Amended

 Complaint, including the fact section, “as if herein copied verbatim.” In the preceding paragraphs, the

 McDonaghs detailed a years long dispute over the validity of the Defendants’ incorrect and

 unsubstantiated charges, include as exhibits exchanges between counsels for both the McDonaghs and the

 Defendants seeking to validate the debt, and cite the June 24, 2020 unlawful non-judicial foreclosure that

 was only prevented by the filing of this suit. If not for Defendants attempting to charge unsubstantiated

 fees that are not supported or authorized by the terms of the Mortgage and initiating a non-judicial

 foreclosure on false pretenses, the McDonaghs would not have suffered the loss of having to hire counsel

 to seek substantiation and dispute the validity of the charges with SN prior to litigation or file suit

 requiring an emergency order of the Court to prevent the unlawful foreclosure.

         19.      Tennessee law imposes a duty of good faith and fair dealing in the performance of every

 contract. Hometown Folks, LLC v. S&B Wilson, Inc., 2011 WL 2566825 at *4 (6th Cir. 2011); see, e.g.,

 Lamar Adver. Co. v. By–Pass Partners, 313 S.W.3d 779, 791 (Tenn. Ct. App. 2009). The purpose of this

 implied covenant is: “(1) to honor the reasonable expectations of the contracting parties and (2) to protect

 the rights of the parties to receive the benefits of the agreement into which they entered.” Lamar Adver.

 Co., 313 S.W.3d 791. The duty of good faith and fair dealing requires parties to a contract to conduct


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 themselves fairly and responsibly. S&B Wilson, Inc., 2011 WL 2566825 at *6; see, e.g., Winfree v.

 Educators Credit Union, 900 S.W.2d 285, 289 (Tenn.Ct.App.1995) ( “[T]here is an implied undertaking

 in every contract on the part of each party that he will not intentionally or purposely do anything ... which

 will have the effect of destroying or injuring the right of the other party to receive the fruits of the

 contract.” (internal quotation marks and citation omitted)). Parties have a duty of good faith and fair

 dealing not only in executing the transaction ultimately contemplated by the contract, but also in fulfilling

 the preconditions and contingencies set forth in the contract. Id. Because the nature of the duty of good

 faith and fair dealing depends on the contract at issue, “courts look to the language of the instrument and

 to the intention of the parties, and impose a construction which is fair and reasonable.” TSC Indus., Inc. v.

 Tomlin, 743 S.W.2d 169, 173 (Tenn.Ct.App.1987).

         20.      In S&B Wilson, Inc., the 6th Circuit Court of Appeals found, under an admittedly

 deferential standard of review similar to that of a 12(b)(6) motion, that where a party had the right under a

 contract to terminate an agreement and did so accordingly, that same party could have breached the duty

 of good faith and fair dealing absent a separate breach of the contract, and the court affirmed that a

 reasonable jury could have found as much. S&B Wilson, Inc., 2011 WL 2566825 at *6-7.

         21.      Defendants’ assertion that there cannot be a successful action for breach of an implied

 covenant of good faith and fair dealing in a contract without a corresponding breach of contract claim

 under Tennessee law is incorrect as the 6th Circuit has precisely found the opposite in S&B Wilson, Inc

 where a contract was found to have been properly terminated by a party and that same party was found to

 have breached the implied covenant of good faith and fair dealing in said contract. S&B Wilson, Inc.,

 2011 WL 2566825 at *6-7. Plaintiffs asserted in their Amended Complaint that Defendants impeded their

 rights under the Mortgage by unjustifiably increasing monthly payments and failing to address in any way

 or account for misapplication of funds and improper and/or unfounded charges. These acts, when seen in

 a light most favorable to the McDonaghs, as is the Rule 12(b)(6) standard, amount to a breach of the

 implied covenant of good faith and fair dealing because the Defendants acts breached express duties


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 under the Mortgage, any modification thereof, and specifically the Note establishing the amount of the

 McDonaghs’ payments. Based on the facts alleged and Tennessee law, it is not beyond doubt that the

 plaintiff could prove a set of facts in support of the claim that would entitle them to relief.

         22.      Viewing the facts in the light most favorable to the McDonaghs, this Court should deny

 Defendants’ Motion.

         B.       THE COURT SHOULD DENY DEFENDANTS’ MOTION BECAUSE THE
                  MCDONAGHS’ CLAIM UNDER THE FDCPA IS PLAUSIBLE ON ITS FACE,
                  AND THUS WORTHY OF FULL ADJUDICATION.

         23.      Defendants argument that the McDonaghs’ FDCPA claim is barred by the statute of

 limitations must fail because Defendants, to this day, continue to use false and misleading representations

 or means to collect a debt from the McDonaghs as alleged in the Amended Complaint. 15 U.S. Code §

 1692k(d) provides that an action may be brought “within one year from the date on which the violation

 occurs.” As alleged in the Amended Complaint, the Defendants continue to maintain the to this Court and

 the McDonaghs, as they did to the McDonaghs and the U.S. Bankruptcy Court in April 2018, the falsity

 that the DOT was assigned and Note was transferred to Defendants in April 2018 when they were actually

 assigned and transferred in September 2018, after the Defendants added arbitrary and unverifiable charges

 to the McDonaghs account and misrepresented their legal authority as to the Mortgage. They also

 continue to assert the validity of the incorrect and unverifiable charges. As this misrepresentation remains

 ongoing, the cause of action remains germane, and Defendants statute of limitations claims are

 unfounded.

         24.      In construing the definition of “debt collector” under 15 U.S.C. § 1692a(6), the Sixth

 Circuit has found that a debt collector "includes any non-originating debt holder that . . . acquired a debt

 in default." Bridge v. Ocwen Fed. Bank, FSB, 681 F.3d 355, 362 (6th Cir. 2012). It has further found that

 under the FDCPA, “debt collector” also includes the enforcement of security interests, finding that the

 term liberally applies even to those only engaged in repossession activities under a lien, “[15 U.S.C. §

 1692a(6)] applies to those whose only role in the debt collection process is the enforcement of a security


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 interest.” Glazer v. Chase Home Finance LLC, 704 F.3d 453, 464 (6th Cir. 2013) (quoting Wilson v.

 Draper & Goldberg, P.L.L.C., 443 F.3d 373, 378 (4th Cir. 2006)). In the Amended Complaint, the

 McDonaghs plead that Defendant SN came to service the McDonaghs’ debt while the McDonaghs were

 performing under a Chapter 13 Bankruptcy plan and that the DOT and Note are the operative documents

 as to the agreement. By the terms of the DOT, the McDonaghs were in default merely by filing for

 Chapter 13 Bankruptcy protection.

         24.     Defendants contend that the McDonaghs make conclusory statements regarding the status

 of SN Servicing as a “third party debt collector;” however, the McDonaghs, in addition to specifically

 labeling the Defendants as debt collectors, assert in the Complaint that the Defendants performed

 particular actions that made them debt collectors under the statute, that they acquired the collection

 interests and servicing rights to the Loan and DOT while the McDonaghs were in bankruptcy, thus in

 default, and attempted to collect the debt by demanding payment via phone, email, and mail. Where the

 allegations in a FDCPA claim specifically state that defendant performed a particular action, those

 statements are not conclusory. See Pearson v. Specialized Loan Servicing, LLC, No. 1:16-CV-318, 2017

 WL 3158791, at *4 (E.D. Tenn. July 24, 2017); see also Riley v. Kurtz, 893 F. Supp. 709, 721 (E.D. Mich.

 1995). Additionally, Defendants falsely assert that SN is only referred to as a debt collector in the

 “Parties” section of the Amended Complaint, which again is an entirely false statement from the

 Defendants. In addition to the “Parties” section, the McDonaghs refer to SN sending “debt collection

 notices” to the McDonaghs in paragraph 13 of the Amended Complaint and as “holding servicing rights

 and the collection interest on the loan” to begin “attempting to collect Plaintiff’s debt by demanding

 payment via phone, email, and mail.” Finally, the Mcdonaghs attach communications from as early as

 April 2018 in which SN holds itself out a a “debt collector” that is attempting to collect a debt. The facts

 pled by the McDonaghs regarding Defendants actions, and self-labeling, meet the statutory definition of a

 “debt collector.”




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         25.     Next, the Defendants’ argument that SN’s April 2018 false, deceptive, and misleading

 statements regarding U.S. Bank’s status as the holder of the Note and assignee of the Deed of Trust, and

 thereby SN’s rightful interest to collect the debt on behalf of U.S. Bank, does not violate 15 U.S.C. §

 1692(e) because the communication was either not an attempt to collect a debt or not even “connected” to

 an attempt to collect a debt flies against the facts as plead in the Amended Complaint and the reality of

 the situation. After misrepresenting their statuses as the proper holder of the Note, assignee of the DOT,

 and rightful servicer of the Mortgage, Defendants continuously made and relied on that falsity as well as

 inaccurate and unverifiable charges in repeated attempts to collect from the McDonaghs.

         26.      Under the FDCPA, false or misleading representations include: false representation of

 the character, amount, or legal status of any debt as well as the use of any false representation or

 deceptive means to collect or attempt to collect any debt or to obtain information concerning a consumer.

 15 U.S.C. § 1692(e)(2)(A), 1692(e)(10).

         27.     The McDonaghs specifically allege several times in the Complaint that the Defendants

 increased monthly payment amounts without reason, using unverifiable charges as a basis, and attempted

 to collect that amount. In Exhibit VII, VIII, IX, and X of the Amended Complaint, the McDonaghs show

 communications made to Defendants whereby they provide calculations showing how the Defendants

 increased payment amount was incorrect and questioning the vailidity of ambiguous charges used by the

 Defendants to calculate a higher monthly payment amount when the interest rate on the loan allegedly

 decreased. The McDonaghs allege in the Amended Complaint that despite numerous requests of the

 Defendants to clarify the monthly payment amounts, they were rebuffed each time, and the McDonaghs

 attach several exhibits of communications with the Defendants evidencing the same. The McDonaghs

 clearly assert that the Defendants made false representations of the amount of the debt, and that

 Defendants continued to attempt collect that amount when questioned even after the Defendants’

 representative confirmed that they did not know the correct amount stating “[d]ue to unfortunate

 circumstances I do not have the breakdown of the fees at this time to send you. We are having to work


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 with the previous servicing companies to get some documentation.” These pleaded false representations

 alone are enough to state a claim under the FDCPA.

         28.     The McDonaghs also plead in the Amended Complaint that the Defendants, in attempts

 to collect the debt, falsely represented both to them and the U.S. Bankruptcy Court that the debt had been

 transferred to the Defendants when it in fact had not been transferred. The Amended Complaint provides

 that the assignment of the DOT and transfer of the Note occurred months after the Defendants represented

 to the Bankruptcy Court and to the McDonaghs that they were collecting the debt and enforcing the

 mortgage lien, and even after the Defendants plainly stated to the McDonaghs that they did not have the

 information available to verify or explain the questioned charges.

         29.     The Defendants contend that their deceptive and false communication regarding the

 transfer and assignment of the Mortgage is not a violation because it does not meet the threshold of the

 factors as contained in Goodson v. Bank of Am., N.A., 600 F. App’x 422, 430 (6th Circ. 2015). However, a

 simple review of the factors and facts as plead in the Amended Complaint shows otherwise.

          This review takes into account the following factors: (1) the nature of the relationship of the
 parties; (2) whether the communication expressly demanded payment or stated a balance due; (3) whether
 it was sent in response to an inquiry or requested by the debtor; (4) whether the statements were part of a
 strategy to make payment more likely; (5) whether the communication was from a debt collector; (6)
 whether it stated that it was an attempt to collect a debt; and (7) whether it threatened consequences
 should the debtor fail to pay.

         Id. at 431. The relationship between SN and the McDonaghs was a debt collector and debtor

 under the statute for the reasons stated above based on the status of the McDonaghs and the actions and

 SN both self-identifies as a debt collector and states explicitly that the communication is an attempt to

 collect a debt. The April 18, 2018 communication from SN to the McDonaghs states that the “Loan was

 transferred to U.S. Bank and SN Servicing is the new servicer;” the second page of the April 18, 2018

 communication, as included in the Complaint as Exhibit II, states “SN Servicing Corporation is

 attempting to collect a debt;” the communication was accompanied by an immediate increase in the

 monthly payment amount as soon as the Bankruptcy was discharged even though the transfer of the



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 mortgage occurred months later; the McDonaghs never sought out the April 18, 2018 communication as

 they were unaware of the Defendants prior to it; and finally, even though the Defendants were not rightful

 holders of the Mortgage, they knew that such a communication would make it likely that the McDonaghs,

 who had consistently paid Mortgage holders while in Bankruptcy, would pay them. This matter and the

 communications are entirely distinguishable from the facts in Goodson, because the Plaintiffs in Goodson

 did not allege that the timing of the transfer in this matter makes the SN’s statements in the April 18, 2018

 communication false on their face, and in this matter the timing of the letter, right as the McDonaghs’

 Bankruptcy was winding down and immediately preceding it being discharged, was in and of itself

 utilized by the Defendants to induce the McDonaghs to begin making payments to them under the threat

 of foreclosure prior to Defendants having the right to make that demand. Further, the oft-stated, incorrect

 assertion that the McDonaghs do not allege that U.S. Bank was not the holder of the Note in April 2018 is

 discussed at length above and is contradicted with even a cursory reading of the Amended Complaint.

 Construing the Complaint in a light most favorable to the McDonaghs and accepting the factual allegation

 that Defendants’ April 2018 statements were false as alleged, the court must find that the McDonaghs can

 prove a set of facts in support of their FDCPA claim that would entitle them to relief.

         30.     Defendants claim that their communication sent to the Bankruptcy Court and the

 McDonaghs on April 18, 2018 was not a communication to collect a debt, thus cannot be the initial

 communication as asserted in the Amended Complaint to be used to adjudge whether the McDonaghs met

 the thirty day response requirement of 15 U.S.C. § 1692g(b). However, the second page of the April 18,

 2018 communication, as included in the Complaint as Exhibit II, states “SN Servicing Corporation is

 attempting to collect a debt.” The McDonaghs allege in the Amended that they began requesting complete

 accountings of the alleged debt in May 2018 and new monthly payments in July 2018, and then the

 McDonaghs provide specific exhibits showing those requests continuing no less than on three occasions

 afterwards: May 17, 2018, August 16, 2018, and September 16, 2018, all prior to the actual assignment

 and transfer of the Mortgage that occurred on September 21, 2018. Further, as plead in the Amended


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 Complaint, SN continued to attempt to collect the debt throughout the process, but certainly between

 April 2018 and January 2019. Viewing those facts in a light most favorable to the McDonaghs, the

 McDonaghs plead a set of facts whereby they meet the timing requirements of 15 U.S.C. § 1692g(b).

         31.      The Defendants then claim that the SN Response, dated January 8, 2019, suffices as

 verification of the debt under 15 U.S.C. § 1692g(b). However, in between April 2018 and January 2019,

 Defendants did not cease their attempts to collect the debt while collecting information for the verification

 in violation of the statute, refused to accept payments from the McDonaghs during that time, and the

 monthly payment amount that Defendants list on the payoff statement, while stating an incorrect due date

 of January 1 is the amount that the McDonaghs had been asserting was correct for months, $5.992.45

 instead of the $6,201.79 monthly payment demanded since July 2018. “The verification provision must be

 interpreted to provide the consumer with notice of how and when the debt was originally incurred or other

 sufficient notice from which the consumer could sufficiently dispute the payment obligation.” Haddad v.

 Alexander, Zelmanski, Danner & Fioritto, PLLC, 758 F.3d 777, 785-86 (6th Cit. 2014). When the dispute

 is as to the calculation of monthly payments, and the verification fails to address the calculation, it is not

 enough information to sufficiently dispute the payment obligation. In this instance, not only are the

 calculations not provided, the alleged verification states the monthly payment as being due two years

 prior for the same amount claimed by the McDonaghs all along.

         32.      Defendants’ final argument, that the McDonaghs lack standing to bring a claim under the

 FDCPA because they do not plead for actual damages is, again, untrue. All cases cited by the Defendants

 show situations in which Plaintiffs do not plead for actual damages. Here, the McDonaghs plead

 specifically for actual damages, and identify the damages. The McDonaghs specifically identify damages

 of needing to bring this suit in order to prevent the June 2020 foreclosure sale from occurring, a feat

 accomplished by a state court order, but also the McDonaghs plead actual damages for the costs and

 attorney fees to dispute and communicate with the Defendants regarding their collection attempts prior to

 this suit occurring, as evidenced by the exhibits in the Amended Complaint showing extensive


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 communication between the McDonagh’s counsel at the time and SN’s counsel in attempts to verify the

 debt and resolve the ambiguity prior to this lawsuit being filed. The McDonaghs also claim the costs of

 this action under 15 U.S.C. § 1692k(a)(3), but the costs and attorneys fees incurred by the

 McDonaghs and plead for in the Amended Complaint are wholly separate actual damages, both

 as plead and in actuality.

         33.     Viewing the facts in the light most favorable to the McDonaghs, this Court should deny

 Defendants’ Motion.

         C.      THE COURT SHOULD DENY DEFENDANTS’ MOTION BECAUSE THE
                 MCDONAGHS’ CLAIM UNDER THE TCPA IS PLAUSIBLE ON ITS FACE,
                 AND THUS WORTHY OF FULL ADJUDICATION.

         34.     The Defendants challenge to the McDonaghs’ TCPA claim, that it is barred by the one-

 year statute of limitations, is incorrect for similar reasons as the FDCPA claim, because Defendants, to

 this day, continue to use false and misleading representations or means to collect a debt from the

 McDonaghs as alleged in the Amended Complaint. Tenn. Code. Ann. § 47-18-110 provides that an

 action may be brought “within one (1) year from a person’s discovery of the unlawful act or practice.”

 Contrary to the Defendants assertions in their motion, and as alleged in the Amended Complaint, the

 McDonaghs did not know of the misrepresentation regarding the Defendants interests in the Mortgage in

 April 2018, and could not have because Defendants didn’t even record the assignment of the DOT until

 September 2018. However, even upon the recording of the assignment, Defendants maintain the

 falsehood that the Note was transferred in April 2018 to this day. Only after asking Defendants about the

 Note and verification of the debt and the inability of the Defendants to confirm otherwise did the

 McDonaghs have knowledge that the Note was not transferred in April 2018. Defendants also continue to

 assert the validity of the incorrect and unverifiable charges, which while questioned by the McDonaghs,

 did not become clear until communications with SN’s attorney in 2019. As this misrepresentation remains

 ongoing, the cause of action remains germane, and Defendants statute of limitations claims are

 unfounded.

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         35.     The McDonaghs sufficiently plead a claim under the TCPA based on Tenn. Code. Ann. §

 47-18-104(b)(14) which prohibits “causing confusion or misunderstanding with respect to the

 authority of a salesperson, representative, or agent to negotiate the final terms in a consumer

 transaction” because SN, on behalf of U.S. Bank and SCIG, made false and deceptive statements

 regarding their rights and interests in the mortgage, changed the monthly payments based on

 incorrect and unverifiable charges, and then for five (5) months continued attempting to collect a

 debt that they had not right to collect. As a separate cause of confusion and misunderstanding

 based on their deception as plead in the Amended Complaint, the Defednants denied

 restructuring requests made by the McDonaghs when they had no legal authority to make such

 decisions as U.S. Bank was not transferred the Note or assigned the DOT until September 2018

 long after the McDonaghs’ requests were dined by the Defendants.

         36.     Defendants’ statements that the McDonaghs’ claims under the TCPA do not apply to

 this matter because, “the TCPA does not apply to allegedly deceptive conduct in foreclosure proceedings”

 fail to address the misrepresentation and deceptive act central to the McDonaghs’ Complaint: the

 unilateral increase of the incorrect monthly payment amount and disregard for uncovering the actual

 calculation of the total debt owed.. Defendants’ inflation of the monthly collection amount, prior to

 having any right to do so, and their attempts to collect the incorrect monthly payment amount with willful

 indifference to correcting the error and knowing misrepresentations to the McDonaghs and the

 Bankruptcy Court regarding their status as rightful owner of the Loan and DOT are overt acts of

 deception by the Defendants pleaded with specificity in the McDonaghs’ Complaint.

         43.     Defendants reliance on cases that they claim hold that the TCPA does not apply to

 allegedly deceptive conduct in foreclosure proceedings are narrow holdings from matters that are wholly

 distinguishable from the facts alleged by the McDonaghs in the Complaint. In Jones v. BAC Home Loans

 Servicing, LP, No. W2016-00717-COA-R3-CV, 2017 WL 2972218, at *8 (Tenn. Ct. App. July 12, 2017),


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 the TCPA claim was “predicated on the fact that foreclosure took place despite the alleged promise to

 forbear made by [defendant’s] representative.” The McDonaghs do not allege a TCPA violation in the

 foreclosure proceedings, but rather the deceptive and knowingly false acts of the Defendants prior to any

 foreclosure attempt. Rather than claiming an oral promise as the deceptive act in the Amended Complaint,

 the McDonaghs plead that the Defendants made false and deceptive statements in filings to the

 Bankruptcy Court as well as in attempts to collect a knowingly false amount from the McDonaghs, which

 they still have not been able to explain to this day. Defendants reliance on Pugh v. Bank of Am., No. 13-

 2020, 2013 WL 3349649, at *7 (W.D. Tenn. July 2, 2013), also does not correlate with the facts in this

 matter. The holding of the Court in Pugh relates to an alleged TCPA violation by the lender in their

 communications to a borrower regarding loan modification requests and subsequent foreclosure. The

 Pugh holding specifically states that the “[t]he gravamen of Plaintiffs' allegations is that foreclosing on

 the Property would be improper because of representations made during a series of events that led to the

 denial of Plaintiffs' request for a loan modification…in the context of a dispute that is effectively [over

 repossession of collateral securing a loan].” Id. at 17. The gravamen of this matter as alleged in the

 Amended Complaint is very different. Rather than alleging that Defendants made misrepresentations in

 promises to restructure the Mortgage, the McDonaghs allege that the Defendants unilaterally increased

 the total amount due, monthly payments based on incorrect and unverifiable charges, in contradiction to

 the final terms of the Mortgage, prior to the McDonaghs missing a payment following the discharge of

 their Bankruptcy, so foreclosure wasn’t even on the table, and additionally Defendants did not have the

 proper authority to inflate the monthly payments or negotiate and deny any loan restructuring because

 they misrepresented that authority. The McDonaghs allege that they have suffered ongoing economic

 damages resulting from the Defendant’s deceptions, including the legal costs and fees associated with

 protecting their interests in their real property prior to any foreclosure proceedings being initiated against

 the Property.




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         44.     The McDonaghs allege that the Defendants arbitrarily and incorrectly inflated the the

 total amount due and the monthly payment amount of the McDonaghs on false pretenses. That increases

 of the monthly payments were not a part of restructuring or modifying the loan but was based on the

 amount as specified in the original and final Mortgage, not new negotiations. As for the Additional

 amounts added by the Defendants, we still await to learn of their origin. Therefore, Defendants argument

 that the complaint centers around requested modification and not the final terms of the note is incorrect.

 Defendants allegations that actual damages requested in the Amended Complaint are conclusory is also

 invalid and addressed at length above.

         44.     Viewing the facts in the light most favorable to the McDonaghs, this Court should deny

 Defendants’ Motion.

         D.      THE COURT SHOULD DENY DEFENDANTS’ MOTION BECAUSE THE
                 MCDONAGHS’ CLAIM UNDER RESPA IS PLAUSIBLE ON ITS FACE, AND
                 THUS WORTHY OF FULL ADJUDICATION.

         45.     Defendants’ proposition that the McDonaghs did not illustrate how SN failed to respond

 to the McDonaghs’ Notices of Error and Qualified Written Request (“QWR”) is untrue. In the Amended

 Comlaint, Count VI alleging RESPA violations begins by incorporating the preceding fifty-two (52)

 paragraphs. In those paragraphs, most specifically paragraphs 25 to 28, the McDonaghs clearly

 demonstrate how SN refused and failed to respond for their requests of validation of increased monthly

 charges based on unverifiable and unclear additions to the principal owed by the McDonaghs. In

 paragraph 25, the McDonaghs give a detailed list of issues that SN failed to address, explain, or verify

 including the increased premium and arbitrary, unverifiable charges. Despite continued requests and back

 and forth between the parties, and the initiation of this suit, SN and the Defendants remain unable to

 verify said charges. Further, the McDonaghs have pleaded that they have yet to receive a satisfactory

 response by the Defendants to the QWR issues, and Defendants have not disputed this fact.

         46.     As in their attempts to negate the pleaded actual damages under all previous counts

 alleged by the McDonaghs, the Defendants simply do not acknowledge that the McDonaghs plead actual


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 damages, not just from bringing this suit to prevent the immediate and irreparable harm of foreclosure,

 but also the attorney fees incurred by the McDonaghs while trying to get verification of the debt and

 charges from the Defendant in the year preceding the lawsuit. The Defendants remaining argument

 concerning concerning Dunkle, Kantz, Marais, and Spokeo moot in light of their disregard of the specific

 actual damages as asserted in the Amended Complaint.

           49.    Viewing the facts in the light most favorable to the McDonaghs, this Court should deny

 Defendants’ Motion.

                                                IV. CONCLUSION

           For the foregoing reasons, Plaintiffs Donal M. McDonagh and Michele R. McDonagh

 respectfully request that Defendants SN Servicing and U.S. Bank’s Motions to Dismiss be

 denied.

           Dated: November 17, 2020



                                                  Respectfully Submitted,

                                                  /s/ Derek E. Whitlock______
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                                        CERTIFICATE OF SERVICE

       I hereby certify that on November 17, 2020, a true and correct copy of the foregoing
 document has been mailed U.S. Post to the following:

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